
82 So. 3d 822 (2011)
Carol A. BAPTISTE, Appellant,
v.
MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., as Nominee of Novastar Mortgage, Inc., Appellee.
No. 4D10-45.
District Court of Appeal of Florida, Fourth District.
March 16, 2011.
Enrique Nieves, III, of Ice Legal, P.A., West Palm Beach, for appellant.
Sidney A. Stubbs of Jones, Foster, Johnston &amp; Stubbs, P.A., West Palm Beach, and Barry S. Fishman of Shapiro &amp; Fishman, LLP, Boca Raton, for appellee.
PER CURIAM.
We affirm the order denying Baptiste's motion to vacate the notice of voluntary dismissal, noting that Baptiste failed to allege a colorable entitlement to relief in her motion. See Pino v. Bank of N.Y. Mellon, 2011 WL 309441 (Fla. 4th DCA 2011) (en banc). No evidentiary hearing was necessary to resolve Baptiste's motion, *823 and the trial court need not have taken this additional step.
Affirmed.
GROSS, C.J., MAY and DAMOORGIAN, JJ., concur.
